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 '()*+ ,-8./071-284039/7744.9                                                                          567+)89: 12;<= >
                                                                              ?+@A9*B7C                5D6EA+* <
                         #%FGHIGJGKLI!MN%G!GJMNNGH!IOJGH#INGHPQ
R: ST*7T6(A)A9)RR)U):V:5:)W)XYZB6C)6([)\+[:)]6(^*:)S:)Y_R`B@Ca)')b+*Acde)AD6A)')6f)AD+)6AA9*(+e)d9*)AD+)6@9g+)(6f+[)[+@A9*B7C)6([)AD6A
       b9fE+(76Ac9()E6c[)A9)f+)hcADc()9(+)e+6*)@+d9*+)AD+)dcic(j)9d)AD+)E+AcAc9()c()@6(^*TEAbea)9*)6j*++[)A9)@+)E6c[)A9)f+a)d9*)7+*gcb+7)*+([+*+[)9*)A9
       @+)*+([+*+[)9()@+D6id)9d)AD+)[+@A9*B7C)c()b9(A+fEi6Ac9()9d)9*)c()b9((+bAc9()hcAD)AD+)@6(^*TEAbe)b67+)c7)67)d9ii9h7k
             \9*)i+j6i)7+*gcb+7a)')D6g+)6j*++[)A9)6bb+EA                                               l               m2n/7onpq2
                                                                                                                    ,7912o/n0.7o
             S*c9*)A9)AD+)dcic(j)9d)ADc7)7A6A+f+(A)')D6g+)*+b+cg+[                                     l                  2r222s22
             ]6i6(b+)?T+                                                                               l               m2n/7onpq2
                                                                                                                    ,7912o/n0.7o
Y: l444433 s224444)9d)AD+)dcic(j)d++)D67)@++()E6c[:
X: tD+)79T*b+)9d)AD+)b9fE+(76Ac9()E6c[)A9)f+)h67k
            ) ?+@A9*                   uAD+*)B7E+bcdeCk ,-7ov4w3o44.945x2p078y/4970-28
z: tD+)79T*b+)9d)b9fE+(76Ac9()A9)@+)E6c[)A9)f+)c7k
            ) ?+@A9*                   uAD+*)B7E+bcdeCk {243ox28/0nox40-n047384|22/49n}4p241n.xr4|87940.9240740.92r4p}40-24x2p078y/41n82o0/s
~: ')D6g+)(9A)6j*++[)A9)7D6*+)AD+)6@9g+[c7bi97+[)b9fE+(76Ac9()hcAD)6(e)9AD+*)E+*79()T(i+77)AD+e)6*+)f+f@+*7)6([)6779bc6A+7)9d)fe)i6h)dc*f:
            ')D6g+)6j*++[)A9)7D6*+)AD+)6@9g+[c7bi97+[)b9fE+(76Ac9()hcAD)6)E+*79()9*)E+*79(7)hD9)6*+)(9A)f+f@+*7)9*)6779bc6A+7)9d)fe)i6h)dc*f:))
            b9Ee)9d)AD+)6j*++f+(Aa)A9j+AD+*)hcAD)6)ic7A)9d)AD+)(6f+7)9d)AD+)E+9Ei+)7D6*c(j)c()AD+)b9fE+(76Ac9()c7)6AA6bD+[:
`: '()*+AT*()d9*)AD+)6@9g+[c7bi97+[)d++a)')D6g+)6j*++[)A9)*+([+*)i+j6i)7+*gcb+)d9*)6ii)67E+bA7)9d)AD+)@6(^*TEAbe)b67+a)c(biT[c(jk
       6:t9)E*9gc[+)i+j6i)6[gcb+)hcAD)*+7E+bA)A9)AD+)[+@A9*7)*cjDA7a)[TAc+7)6([)9@icj6Ac9(7)67)6)[+@A9*)c()6)5D6EA+*))b67+
       @:t9)677c7A)AD+)[+@A9*)c()AD+)E*+E6*6Ac9()9d)AD+)[+@A9*7)@6(^*TEAbe)E+AcAc9(a)@6(^*TEAbe)7bD+[Ti+7)6([)7A6A+f+(A)9d)dc(6(bc6i)6dd6c*7)6([)9AD+*
           9*[c(6*e)6([)bT7A9f6*e)[9bTf+(A7)*+i6Ac(j)A9)6)5D6EA+*))@6(^*TEAbe)b67+
       b:t9)*+E*+7+(A)AD+)[+@A9*)6A)AD+)dc*7A)f++Ac(j)9d)b*+[cA9*7)6([)6(e)b9(Ac(T+[)f++Ac(j7)b9([TbA+[)@e)AD+)5D6EA+*))A*T7A++)6([
       [:t9)677c7A)AD+)[+@A9*)c()6[[*+77c(j)6(e)c(d9*f6Ac9()*+T+7A7)@e)AD+)5D6EA+*))A*T7A++:
: ]e)6j*++f+(A)hcAD)AD+)[+@A9*B7Ca)AD+)6@9g+[c7bi97+[)d++)[9+7)(9A)c(biT[+)AD+)d9ii9hc(j)7+*gcb+k
       6: +E*+7+(A6Ac9()9d)AD+)[+@A9*)c()6(e)E*9b++[c(j7)A9)[+A+*fc(+)hD+AD+*)6(e)[+@A7)6*+)(9([c7bD6*j+6@i+
       @: +E*+7+(A6Ac9()9d)AD+)[+@A9*)c()6(e)E*9b++[c(j)9@+bAc(j)A9)AD+)[+@A9*7)*+b+cEA)9d)6)[c7bD6*j+
       b: +E*+7+(A6Ac9()9d)AD+)[+@A9*)c()6(e)A6*+i6A+[)c77T+7
       [: +E*+7+(A6Ac9()9d)AD+)[+@A9*)A9)(+j9Ac6A+)6)ET*bD67+)9d)6(e)(9(++fEA)677+A7)d*9f)AD+)@6(^*TEAbe)A*T7A++
       +: +E*+7+(A6Ac9()9d)AD+)[+@A9*)c()6(e)+6fc(6Ac9(7)79TjDA)A9)@+)b9([TbA+[)@e)6)E6*Ae)c()c(A+*+7A)ET*7T6(A)A9)]6(^*TEAbe)Ti+)Y__z)6([
       d: +E*+7+(A6Ac9()c()6(e)9AD+*)f6AA+*7)(9A)7T@+bA)A9)9T*)+(j6j+f+(A)i+AA+*)c7)7T@+bA)A9)dTAT*+)(+j9Ac6Ac9(7)6([)A+*f7:
                                                                    IHN%J%MN%G!
       ')b+*Acde)AD6A)AD+)d9*+j9c(j)c7)6)b9fEi+A+)7A6A+f+(A)9d)6(e)6j*++f+(A)9*)6**6(j+f+(A)d9*)E6ef+(A)A9)f+)d9*)*+E*+7+(A6Ac9()9d)AD+)[+@A9*B7C)c(
 ADc7)@6(^*TEAbe)E*9b++[c(j:
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